
In his petition for writ of mandamus, petitioner seeks to compel the circuit court to render a written order of revocation of probation after it failed to do so following an August 10, 2007, hearing in which it revoked petitioner's probation and imposed new sentences. We grant the petition and order the circuit court to render such an order. See Espinoza-Brito v. State, 246 So. 3d 522 (Fla. 2d DCA 2018) ; Dawkins v. State, 936 So. 2d 710, 712 (Fla. 2d DCA 2006) ; Greer v. State, 831 So. 2d 1261 (Fla. 2d DCA 2002) ; State v. Sullivan, 640 So. 2d 77, 78 (Fla. 2d DCA 1994) ("If a trial court fails or refuses to enter a written order that is needed for an appeal, counsel has the remedy of filing a motion or a petition for writ of mandamus with this court to compel the trial court to enter such an order."). Because we are confident that the circuit court will promptly comply with the ruling of this court, we withhold formal issuance of the writ. Within 20 days of this order, the State of Florida shall file in this court a copy of the circuit court's written order of revocation of probation.
NORTHCUTT, CASANUEVA, and SALARIO, JJ., Concur.
